
OPINION.
Trammell:
Upon the authority of American Creosoting Co., 12 B. T. A. 247, and Cincinnati Mining Co., 8 B. T. A. 79, the issue here presented must be decided in favor of the petitioner. There being no agreement between the corporations included in the consolidated return, section 240 (b) of the Revenue Acts of 1918 and 1921 provides that the tax shall be assessed in accordance with the net income of the corporations. The petitioner having no income, no part of the tax should be assessed against it.
In view of our holding on this point, it is unnecessary for us to determine the issues on the merits, the facts relating to which were *1210stipulated. We consider it unnecessary to incorporate those facts into our findings.

Judgment for the petitioner.

